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CO 109A - Rey, 3/2010
UNITED STATES DISTRICT AND BANKRUPTCY COURTS
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

 

VS.

Civil/Criminal No.: —_CR21-552

KENNETH THOMAS

NOTE FROM JURY

 

 

 

 

 

 

 

 

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(NAY 23, 2023, {2.739 Pm.
